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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WINE OF JAPAN IMPORT, INC.,

                        Plaintiff,
                                                                       ORDER
                -against-
                                                                 20 Civ. 2497 (PGG)
 JFC INTERNATIONAL, INC., HIROMICHI
 AZUMA, and ATSUSHI KOYANAGI,

                        Defendants,


PAUL G. GARDEPHE, U.S.D.J.:

               The conference currently scheduled for January 14, 2021 will take place by

telephone.

               The parties are directed to dial 888-363-4749 to participate, and to enter the

access code 6212642. The press and public may obtain access to the telephone conference by

dialing the same number and using the same access code. The Court is holding multiple

telephone conferences on this date. The parties should call in at the scheduled time and wait on

the line for their case to be called. At that time, the Court will un-mute the parties’ lines. No

later than January 12, 2021, the parties must email Michael_Ruocco@nysd.uscourts.gov and

GardepheNYSDChambers@nysd.uscourts.gov with the phone numbers that the parties will be

using to dial into the conference so that the Court knows which numbers to un-mute. The email

should include the case name and case number in the subject line.

Dated: New York, New York
       January 11, 2021
